     Case 4:20-cv-01920 Document 1 Filed on 06/01/20 in TXSD Page 1 of 28




                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS


AMAZON.COM, INC., a Delaware
Corporation,
                         Plaintiff,
       vs.                                      Case No.
SPREADYOURADS GMBH, a
German limited liability company;
OMALA INTERNET SOLUTIONS,
LLC, a Texas limited liability
company; JOS JONGEJAN, an
individual; and MICHAEL
OSTERRIEDER, an individual,
                         Defendants.


                                      COMPLAINT

                                         INTRODUCTION

       1.       Amazon.com, Inc. is one of the most well-known and trusted brands

in the world.

       2.       Defendants SpreadyourAds GmbH, Omala Internet Solutions, LLC,

Michael Osterrieder, and Jos Jongejan together operate an online advertising

scheme that employs fraudulent Amazon-branded “survey” websites to generate

traffic to sell to online advertisers.




                                            1
     Case 4:20-cv-01920 Document 1 Filed on 06/01/20 in TXSD Page 2 of 28




      3.     The fraudulent scheme begins with the victims’ receipt of emails or

SMS messages sent by affiliate marketers, which are companies and individuals

hired to generate traffic for Defendants’ survey websites.

      4.     These communications often contain Amazon’s trademarks and are

designed to appear as though they were sent by Amazon, luring victims to click on

a link that directs them to Defendants’ survey page.

      5.     When victims click on this link, they are redirected through a series of

domains to the Defendants’ survey website. Defendants’ survey greets victims as

“Amazon Shoppers,” uses Amazon’s trademarks to deceive victims about the

survey’s origin, and promises victims “reward offers” in exchange for their

participation.

      6.     After answering questions related to Amazon and its business,

Defendants refer victims to other websites to claim their “reward offers.”

However, no “reward” or “offer” exists. Instead, Defendants sell the victims’

traffic to affiliate networks, which direct victims to advertisers’ websites where

victims can purchase products that have no affiliation with Amazon.

      7.     Amazon brings this lawsuit to hold Defendants accountable for their

fraudulent scheme, which capitalizes on Amazon’s brand to take advantage of

unwitting victims.

                                          2
     Case 4:20-cv-01920 Document 1 Filed on 06/01/20 in TXSD Page 3 of 28




                                          PARTIES

      8.     Amazon is a Delaware corporation with its principal place of business

in Seattle, Washington. Through its subsidiaries, Amazon owns and operates the

Amazon.com website and equivalent international websites.

      9.     SpreadyourAds GmbH is a German limited liability company and, on

information and belief, has its principal place of business in Baeinfurt, Germany.

SpreadyourAds is directly liable to Amazon for the damages alleged in this

Complaint, or alternatively, is secondarily liable to Amazon for these damages

under principles of secondary liability, including, without limitation, respondeat

superior, vicarious liability, and/or contributory liability.

      10.    Omala Internet Solutions, LLC, is a Texas limited liability company

and has its principal place of business in Sugarland, Texas. Omala Internet

Solutions is directly liable to Amazon for the damages alleged in this Complaint,

or alternatively, is secondarily liable to Amazon for these damages under

principles of secondary liability, including, without limitation, respondeat superior,

vicarious liability, and/or contributory liability.

      11.    Michael Osterrieder is an individual who resides in Germany and

owns SpreadyourAds GmbH. Osterrieder owned, operated, and financially

benefitted from the unlawful scheme that made fraudulent use of Amazon’s brand

                                            3
     Case 4:20-cv-01920 Document 1 Filed on 06/01/20 in TXSD Page 4 of 28




and deceived Amazon’s customers. Osterrieder is directly liable to Amazon for the

damages alleged in this Complaint. Alternatively, Osterrieder had the right and

ability to supervise, direct, and control the wrongful conduct alleged in this

Complaint, and derived a direct financial benefit from that wrongful conduct. As

such, Osterrieder is subject to liability for the wrongful conduct alleged herein

under principles of secondary liability, including, without limitation, respondeat

superior, vicarious liability, and/or contributory infringement.

      12.    Jos Jongejan is an individual who resides in Sugarland, Texas and

owns Omala Internet Solutions, LLC. Jongejan owned, operated, and financially

benefitted from the unlawful scheme that abused Amazon’s brand and harmed

Amazon’s customers. Jongejan is directly liable to Amazon for the damages

alleged in this Complaint. Alternatively, Jongejan had the right and ability to

supervise, direct, and control the wrongful conduct alleged in this Complaint, and

derived a direct financial benefit from that wrongful conduct. As such, Jongejan is

subject to liability for the wrongful conduct alleged herein under principles of

secondary liability, including, without limitation, respondeat superior, vicarious

liability, and/or contributory infringement.




                                          4
     Case 4:20-cv-01920 Document 1 Filed on 06/01/20 in TXSD Page 5 of 28




                             JURISDICTION AND VENUE

      13.    The Court has subject matter jurisdiction over Amazon’s claims for

trademark infringement (15 U.S.C. § 1114), violations of Section 43(a) of the

Lanham Act (15 U.S.C. § 1125(a)), and trademark dilution (15 U.S.C. § 1125(c))

pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338(a).

      14.    The Court has general personal jurisdiction over Jongejan and Omala

Internet Solutions, LLC, because, on information and belief, they are residents in

this District. Alternatively, the Court has specific personal jurisdiction of Jongejan

and Omala Internet Solutions because they transacted business and committed

tortious acts within this District, and Amazon’s claims arise from those activities.

      15.    The Court has specific personal jurisdiction over Osterrieder and

SpreadyourAds GmbH because they transacted business and directed the

commission of tortious acts within this District, and Amazon’s claims arise from

those activities. Alternatively, the Court has specific personal jurisdiction over

Osterrieder and SpreadyourAds GmbH because neither is subject to general

jurisdiction in any state’s court, they transacted business and directed the

commission of tortious acts within the United States, and Amazon’s claims arise

under federal law.




                                          5
     Case 4:20-cv-01920 Document 1 Filed on 06/01/20 in TXSD Page 6 of 28




       16.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)

because, on information and belief, Jongejan and Omala Internet Solutions are

residents of the Southern District of Texas, Osterrieder and SpreadyourAds are not

residents of any state, and a substantial part of the events giving rise to the claims

occurred in this district.

                                           FACTS

       A.     Amazon is a Trusted Brand

       17.    Amazon is a highly-trusted brand, recognized by millions of

consumers throughout the world who use Amazon’s online stores to conveniently

purchase a wide array of products and services.

       18.    In connection with its online stores, Amazon offers gift cards,

promotions, and a variety of services. One of Amazon’s most popular offerings is

Prime, which is a paid membership program that provides discounts on shipping

and free access to digital content (to name just two of Prime’s features).

       19.    Amazon sends customers emails in connection with its products and

services. As a result, Amazon’s customers have come to expect to receive email

communications from Amazon, to use Amazon’s services online, and to interact

with Amazon online.




                                           6
     Case 4:20-cv-01920 Document 1 Filed on 06/01/20 in TXSD Page 7 of 28




      20.   Amazon’s products and services are readily identifiable to consumers

around the world because of the company’s substantial and years-long investment

of time, money, and other resources in Amazon’s brand, including the

development of valuable intellectual property.

      21.   Amazon exclusively owns numerous U.S. trademark registrations and

pending applications. These trademarks are a critical component of a consumer’s

ability to readily identify Amazon products and services.

      22.   As alleged in this Complaint, the following trademarks and service

marks (collectively “Amazon Trademarks”) were unlawfully used to further

Defendants’ scheme:


                 Mark               Registration No. (International
                                               Classes)
         AMAZON                 2,657,226 (Int. Cl. 42)
                                2,738,837 (Int. Cl. 38)
                                2,738,838 (Int. Cl. 39)
                                2,832,943 (Int. Cl. 35)
                                2,857,590 (Int. Cl. 9)
                                3,868,195 (Int. Cl. 45)
                                4,171,964 (Int. Cl. 9)
                                4,533,716 (Int. Cl. 2)
                                4,656,529 (Int. Cl. 18)
                                4,907,371 (Int. Cls. 35, 41, 42)
                                5,102,687 (Int. Cl. 18)
                                5,281,455 (Int. Cl. 36)




                                         7
     Case 4:20-cv-01920 Document 1 Filed on 06/01/20 in TXSD Page 8 of 28




                                 4,171,965 (Int. Cl. 9)
                                 5,038,752 (Int. Cl. 25)


         AMAZON.COM              2,078,496 (Int. Cl. 42)
                                 2,167,345 (Int. Cl. 35)
                                 2,559,936 (Int. Cl. 35, 36, 42)
                                 2,633,281 (Int. Cl. 38)
                                 2,837,138 (Int. Cl. 35)
                                 2,903,561 (Int. Cls. 18, 28)
                                 3,411,872 (Int. Cl. 36)
                                 4,608,470 (Int. Cl. 45)

         ECHO                    5,470,187 (Int. Cls. 9, 42)
                                 5,469,992 (Int. Cls. 9, 38, 41, 42)


         KINDLE                  3,694,267 (Int. Cls. 9, 38, 41)
                                 4,289,293 (Int. Cl. 45)
                                 4,380,471 (Int. Cls. 9, 35, 42)
                                 4,932,736 (Int. Cls. 9, 35, 38, 41, 42, 45)
                                 5,054,865 (Int. Cl. 36)
                                 5,146,885 (Int. Cl. 37)

         PRIME                   5,218,535 (Int. Cl. 35)
                                 5,489,315 (Int. Cl. 42)
                                 5,218,536 (Int. Cl. 41)


      23.    The Amazon Trademarks have been used exclusively and

continuously by Amazon, and have never been abandoned. The above U.S.

registrations for the Amazon Trademarks are valid, subsisting, in full force and

effect, and many are incontestable pursuant to 15 U.S.C. § 1065. The registrations


                                         8
     Case 4:20-cv-01920 Document 1 Filed on 06/01/20 in TXSD Page 9 of 28




for the Amazon Trademarks constitute prima facie evidence of their validity and of

Amazon’s exclusive right to use the Amazon Trademarks pursuant to 15 U.S.C.

§ 1057(b).

      B.     Affiliate Marketing Abuse

      24.    A successful website requires internet “traffic,” which is a term used

to describe online visits to the website. Website traffic is akin to customers

shopping at physical retail stores. Just as brick-and-mortar stores need foot traffic

to generate sales, websites need to traffic in order to monetize the website through

sales and advertising revenues.

      25.    Affiliate marketing arose from the need to source relevant traffic for

websites. Broadly speaking, an affiliate publishes material to generate traffic on

behalf of an advertiser (i.e., the party who wants the traffic for their website).

      26.    An affiliate can source traffic through a variety of means, including

email campaigns, SMS (text) messages, and websites that prompt users to click

through, such as online surveys.

      27.    The demand for traffic has spurred the growth of businesses that help

connect affiliates and advertisers. One example of this is an affiliate network,

which generally acts as an intermediary between the advertiser and the affiliates.




                                           9
    Case 4:20-cv-01920 Document 1 Filed on 06/01/20 in TXSD Page 10 of 28




In this model, an advertiser approaches a single network, who then contracts with

one or more affiliates to provide traffic for the advertiser.

       28.    Affiliates use domains designed to redirect online consumers to

another domain. These redirect domains do not render content (such as a webpage

of their own) and instead, are generally invisible to consumers. When people click

on links in an affiliate’s email or webpage, they see only the final landing page,

even though they may have passed through multiple redirect domains along the

way.

       29.    In one common form of affiliate abuse, affiliates generate traffic by

impersonating well-known brands such as Amazon. Affiliates exploit the brand’s

recognition with customers to entice people to click through to a third-party

advertiser’s website, often based on false promises of a reward or gift. The

affiliate is then paid for this fraudulent traffic.

       30.    The generation of traffic through the misuse of a brand’s intellectual

property harms the people who are deceived by the affiliate’s message or website,

the brands whose intellectual property is damaged by these fraudulent campaigns,

and the end advertiser who ultimately pays for the traffic.




                                            10
    Case 4:20-cv-01920 Document 1 Filed on 06/01/20 in TXSD Page 11 of 28




      C.     Defendants’ Unlawful Affiliate Marketing Scheme

      31.    Defendants are engaged in a widespread, fraudulent marketing

scheme that abuses Amazon’s brand to generate traffic. Defendants profit from the

scheme by selling this fraudulently-generated traffic to affiliate marketing

networks, which in turn sell the traffic to advertisers.

      32.    As explained below, Defendants’ scheme involves four main stages.

First, victims receive emails sent by affiliate marketers that use Amazon’s brand to

lure them to click a link in the messages. Second, the affiliate marketers redirect

traffic from these messages to affiliate networks, which then direct those

consumers to Defendants’ website. Third, Defendants use the Amazon

Trademarks and false statements to deceive their victims into clicking through their

fake survey website. Fourth, Defendants monetize this scheme by selling traffic

from their “survey” to other affiliate networks, which then direct victims to

advertisers’ websites.

             1.     Victims Receive Phony Emails and SMS Messages that
                    Often Use Amazon’s Trademarks

      33.    To source traffic, affiliate marketers send unauthorized emails and

SMS messages that often display Amazon’s trademarks and make false statements




                                          11
    Case 4:20-cv-01920 Document 1 Filed on 06/01/20 in TXSD Page 12 of 28




that deceive victims into believing the messages are affiliated with Amazon. The

purpose of the messages is to entice victims to click on a link in the message.

      34.    One of the emailers who generated traffic as part of Defendants’

scheme was an affiliate marketing company called Sendwell, Inc. A partial

screenshot of one of Sendwell, Inc.’s emails is below:




      35.    Links in emails such as the one above directed traffic to affiliate

networks, which in turn, directed traffic to Defendants’ website.

      36.    The affiliate marketers’ emails are designed to appear as though they

originate with Amazon. The email addresses displayed to victims use the Amazon

Trademarks, and the emails contain misleading subject lines, such as “Add more to




                                         12
    Case 4:20-cv-01920 Document 1 Filed on 06/01/20 in TXSD Page 13 of 28




your cart with an extra hundred from your friends at Amazon” and “Amazon has a

surprise for you!”

      37.    To further entice victims to click the links in these emails, the emails

often display large stylized Amazon marks on purported Amazon gift cards, with

“$100” emblazoned in large font and a link that reads, “Unlock Your Bonus Here.”

The affiliate marketers and Defendants do not offer victims a “bonus” or Amazon

gift card, and the victims receive no “reward” for clicking the link.

      38.    These Amazon-branded emails are not approved by or affiliated with

Amazon.

             2.      Affiliate Marketers Refer Victims to Affiliate Networks,
                     Which Then Refer Victims to Defendants’ Website

      39.    When a victim clicks the link contained in the affiliate marketer’s

message, the affiliate marketer redirects the victim to a domain controlled by an

affiliate network. The affiliate network’s domain does not render content in the

victim’s browser, but serves to redirect traffic.

      40.    Affiliate networks that received traffic from the Amazon-branded

messages include Traffic Goats, LLC; Flex Marketing Group; Popular Marketing,

LLC; and Hastraffic.com.

      41.    The affiliate networks receiving traffic from the Amazon-branded

messages redirect victims to websites controlled by Defendants.
                                          13
    Case 4:20-cv-01920 Document 1 Filed on 06/01/20 in TXSD Page 14 of 28




      42.       Traffic Goats and Popular Marketing identified SpreadyourAds as the

entity who received traffic from emails in this scheme.

      43.       On information and belief, Defendants paid the affiliate networks for

the referred victims’ traffic pursuant to contracts between Defendants and the

affiliate networks.

                3.    Defendants Deceive Victims into Clicking Through a
                      “Survey” By Using Amazon’s Brand

      44.       Defendants use at least one domain, loadzucchetto.com, to receive

traffic from affiliate networks. Like the affiliate network domains, this domain

does not render content in the victim’s browser, but serves to redirect traffic and

collect data.

      45.       Defendants’ domain loadzucchetto.com is connected to tracking

services from ThriveTracker. The ThriveTracker account affiliated with

loadzuchetto.com is registered to Osterrieder and SpreadyourAds. Activity on this

account was traced to two Houston IP addresses affiliated with Omala Internet

Solutions and Jongejan—meaning Jongejan was actively using the account that

facilitated the scheme at issue. Once referred through the various redirect

domains, the victim arrives on Defendants’ survey page. At the time of Amazon’s

investigation, Defendants rendered the website at tadomin.com (though Defendants

likely used other domains as well). A true and correct screenshot of one version of

                                           14
    Case 4:20-cv-01920 Document 1 Filed on 06/01/20 in TXSD Page 15 of 28




Defendants’ survey page is attached to this Complaint as Exhibit 1. This survey

page was hosted by Mean Servers under an account registered to the email address

ost_michael@yahoo.de, which is connected to Osterrieder.

      46.    Communications amongst Traffic Goats, Osterrieder, and Jongejan, as

well as communications amongst Popular Marketing, Osterrieder, and Jongejan,

show Defendants willfully using Amazon’s trademarks as part of their campaigns

(e.g., Jongejan providing a stylized Amazon trademark to Traffic Goats). They

also show Defendants monitoring the traffic they received from the affiliate

networks.

      47.    Defendants use Amazon’s brand on their websites to entice victims to

click through the survey—which is how Defendants earn money from this scheme.

Amazon’s brand helps legitimize Defendants’ surveys and increases the likelihood

that victims will click the links in the phony emails.

      48.    When a victim first arrives on Defendants’ survey page, the victim

sees a greeting that addresses the victim as “Amazon Shopper.” The message

invites the victim to complete a survey “about your experiences with Amazon” in

order to get “access to several carefully selected reward offers (worth at least

$80)” (emphasis in original). A screenshot of one of Defendants’ greeting

messages is below:

                                          15
    Case 4:20-cv-01920 Document 1 Filed on 06/01/20 in TXSD Page 16 of 28




After clicking “Start Survey Now,” victims are presented with a survey page that

contains a header using Amazon’s trademark and the words “Shopper Survey.”

Defendants also often intentionally mimic Amazon’s designs and color schemes,

including Amazon’s navy blue banner heading and gold rectangular buttons to

indicate options victims can select.

      49.    Defendants’ survey page leads victims through a series of questions

that further deceive victims into believing the survey originates with or is

sponsored by Amazon.




                                         16
    Case 4:20-cv-01920 Document 1 Filed on 06/01/20 in TXSD Page 17 of 28




      50.    Defendants’ survey asks questions about shopping on Amazon such

as, “When was the last time you bought a product from Amazon?”; “How would

you rate your experience shopping online with Amazon?”; and “How often are the

products you’re looking for in stock?” Defendants intentionally craft these

questions to appear as though they are collecting information for Amazon. A

partial screenshot of one of Defendants’ survey questions is below:




      51.    Defendants’ survey website is not affiliated with Amazon, the

victims’ responses are not provided to Amazon, and Defendants do not actually

collect or use the responses. Rather, the purpose of the survey is merely to cause

victims to click through Defendants’ website.

                                         17
    Case 4:20-cv-01920 Document 1 Filed on 06/01/20 in TXSD Page 18 of 28




      52.    Below Defendants’ survey questions in at least one version of their

survey is a message that states the website is “not affiliated with or endorsed by

Amazon” and that Defendants do not have a right to use the trademarks. This

disclaimer is in substantially smaller font than is used on the rest of the website.

      53.    The inclusion of this language demonstrates Defendants’ knowledge

of Amazon’s exclusive right to use the Amazon Trademarks, and admits that

Defendants lack any right or authority to use them. This purported disclaimer also

demonstrates that Defendants’ design, display, and use of the Amazon Trademarks

on their survey page is intentional and willful.

      54.    Notwithstanding Defendants’ ineffective disclaimer, the rest of the

survey page is expressly designed and intended to give victims the false impression

that it originates with, is affiliated with, or is sponsored by Amazon. It is also

intentionally designed to deceive victims into believing that completing the survey

will lead to a reward.

             4.     Defendants Send Victims Who Complete the “Survey” to
                    Affiliate Networks and Advertisers

      55.    Upon completing the survey, victims are presented with a “Thank

you” message for “completing the survey.” Among other things, the message

deceptively states, “With sincere thanks, you may now choose (1) of the following

exclusive offer rewards below” (emphasis in original). The message also states,

                                          18
    Case 4:20-cv-01920 Document 1 Filed on 06/01/20 in TXSD Page 19 of 28




“All coupons have been applied for reduced shipping costs.” As explained above,

however, Defendants do not record any victim’s answers, and the “exclusive offer

rewards” or “coupons” are nonexistent.

      56.    The rewards page displays numerous products that are intentionally

designed to appear as Amazon product listings. Defendants present these products

as free or heavily discounted “offers.” A partial screenshot of one version of this

page is below:




      57.    None of the offers contained on Defendants’ rewards page is endorsed

by Amazon.


                                         19
    Case 4:20-cv-01920 Document 1 Filed on 06/01/20 in TXSD Page 20 of 28




      58.    Similar to what happens after a victim clicked the link in the phony

emails, clicking one of Defendants’ “reward” links sends the victim through a

series of redirect domains.

      59.    Victims are first redirected to the domain loadzucchetto.com, which is

controlled by Defendants.

      60.    From loadzucchetto.com, victims are redirected to nsxrenkz.com,

another domain controlled by Defendants, and then further redirected through

various domains controlled by affiliate networks. Each affiliate network then

redirects each victim to an advertiser where victims can “purchase” the product

they selected on Defendants’ “reward” page.

      61.    On information and belief, these affiliate networks pay Defendants for

the traffic Defendants refer to them. Two affiliate networks Defendants direct

traffic to are Express Revenue, Inc. and Clickbooth.com, LLC.

                                 CAUSES OF ACTION

                            FIRST CAUSE OF ACTION

                  Trademark Infringement (15 U.S.C. § 1114)

      62.    Amazon incorporates by reference the factual allegations contained in

Sections I–IV as though set forth herein.

      63.    Defendants’ activities infringe the Amazon Trademarks.

                                            20
    Case 4:20-cv-01920 Document 1 Filed on 06/01/20 in TXSD Page 21 of 28




       64.    Amazon advertises, markets, and distributes its products and services

using the Amazon Trademarks, and it uses these trademarks to distinguish its

products and services from the products and services of others in the same or

related fields.

       65.    Because of Amazon’s long, continuous, and exclusive use of the

Amazon Trademarks, they have come to mean, and are understood by customers,

users, and the public to signify, products and services from Amazon.

       66.    Defendants use the Amazon Trademarks in commerce in a manner

that is likely to cause confusion, mistake, or deception as to the source, origin, or

authenticity of their website.

       67.    Further, Defendants’ activities are likely to lead the public to

conclude, incorrectly, that Defendants’ website originates with or is authorized by

Amazon, thereby harming Amazon and the public.

       68.    At a minimum, Defendants acted with willful blindness to, or in

reckless disregard of, their authority to use the Amazon Trademarks and the

confusion that the use of those trademarks would have on consumers as to the

source, sponsorship, affiliation or approval by Amazon of Defendants’ website.

       69.    Defendants are subject to liability for the wrongful conduct alleged

herein, both directly and under various principles of secondary liability, including

                                           21
    Case 4:20-cv-01920 Document 1 Filed on 06/01/20 in TXSD Page 22 of 28




without limitation, respondeat superior, vicarious liability, and/or contributory

infringement.

      70.    As a result of Defendants’ wrongful conduct, Amazon is entitled to

recover its actual damages, Defendants’ profits attributable to the infringement,

and treble damages and attorney fees pursuant to 15 U.S.C. § 1117(a)–(b). The

amount of money due from Defendants to Amazon is unknown to Amazon and

cannot be ascertained without a detailed accounting by Defendants. Alternatively,

Amazon is entitled to statutory damages under 15 U.S.C. § 1117(c).

      71.    Amazon is further entitled to injunctive relief, as set forth in the

Prayer for Relief below. Amazon has no adequate remedy at law for Defendants’

wrongful conduct because, among other things: (a) the Amazon Trademarks are

unique and valuable property; (b) Defendants’ infringement constitutes harm to

Amazon’s reputation and goodwill such that Amazon could not be made whole by

any monetary award; (c) if Defendants’ wrongful conduct is allowed to continue,

the public is likely to become further confused, mistaken, or deceived as to the

source, origin or authenticity of the infringing websites; and (d) Defendants’

wrongful conduct, and the resulting harm to Amazon, is continuing.




                                          22
    Case 4:20-cv-01920 Document 1 Filed on 06/01/20 in TXSD Page 23 of 28




                         SECOND CAUSE OF ACTION

False Designation of Origin, Sponsorship, Approval, or Association and False
                      Advertising (15 U.S.C. § 1125(a))

       72.    Amazon incorporates by reference the factual allegations contained in

Sections I–IV as though set forth herein.

       73.    Amazon advertises, markets, and distributes its products and services

using the Amazon Trademarks, and it uses these trademarks to distinguish its

products and services from the products and services of others in the same or

related fields.

       74.    Because of Amazon’s long, continuous, and exclusive use of the

Amazon Trademarks, they have come to mean, and are understood by customers,

end users, and the public to signify, products and services from Amazon.

       75.    Amazon has also designed distinctive displays, logos, icons, and

graphic images (collectively, “Amazon designs”) for its websites.

       76.    Defendants’ wrongful conduct includes the use of the Amazon

Trademarks, imitation designs (specifically displays, logos, icons, and/or graphic

designs virtually indistinguishable from the Amazon designs), and false or

misleading description or representation of fact in connection with Defendants’

commercial marketing activities.



                                            23
    Case 4:20-cv-01920 Document 1 Filed on 06/01/20 in TXSD Page 24 of 28




      77.    Defendants’ activities deceive consumers. On information and belief,

Defendants’ wrongful conduct misleads and confuses users and the public as to the

origin and authenticity of the goods and services advertised, marketed, offered or

distributed in connection with Amazon’s trademarks, name, and imitation visual

designs, and wrongfully trades upon Amazon’s goodwill and business reputation.

      78.    Defendants’ acts constitute willful false statements in connection with

goods and/or services distributed in interstate commerce, in violation of 15 U.S.C.

§ 1125(a).

      79.    Defendants are subject to liability for the wrongful conduct alleged

herein, both directly and under various principles of secondary liability, including

without limitation, respondeat superior, vicarious liability, and/or contributory

infringement.

      80.    Amazon is further entitled to injunctive relief, as set forth in the

Prayer for Relief below. Defendants’ acts have caused irreparable injury to

Amazon. The injury to Amazon is and continues to be ongoing and irreparable.

An award of monetary damages cannot fully compensate Amazon for its injuries,

and Amazon lacks an adequate remedy at law.

      81.    As a result of Defendants’ wrongful conduct, Amazon is entitled to

recover its actual damages, Defendants’ profits, and treble damages and attorney

                                          24
    Case 4:20-cv-01920 Document 1 Filed on 06/01/20 in TXSD Page 25 of 28




fees pursuant to 15 U.S.C. § 1117(a)–(b). The amount of money due from

Defendants to Amazon is unknown to Amazon and cannot be ascertained without a

detailed accounting by Defendants.

                          THIRD CAUSE OF ACTION

                    Trademark Dilution (15 U.S.C. § 1125(c))

      82.    Amazon incorporates by reference the factual allegations contained in

Sections I–IV as though set forth herein.

      83.    Amazon has exclusively and continuously promoted and used the

Amazon Trademarks. As one of the world’s most well-known technology

companies, the Amazon Trademarks have become famous, distinctive and well-

known symbols of Amazon—well before the Defendants began using the Amazon

Trademarks in association with their goods or services unaffiliated with Amazon

through the Defendants’ illegal use and infringement of the Amazon Trademarks.

      84.    The actions of the Defendants including, but not limited to, their

unauthorized use of the Amazon Trademarks in commerce to deceive users into

believing Defendants’ websites are affiliated with Amazon are likely to cause

dilution of the Amazon Trademarks by blurring and tarnishment in violation of 15

U.S.C. § 1125(c).




                                            25
    Case 4:20-cv-01920 Document 1 Filed on 06/01/20 in TXSD Page 26 of 28




      85.    As a result of Defendants’ willful conduct, Amazon is entitled to

recover its actual damages, Defendants’ profits, and treble damages and attorney

fees pursuant to 15 U.S.C. § 1117(a).

      86.    Amazon is further entitled to injunctive relief, as set forth in the

Prayer for Relief below. Defendants’ acts have caused irreparable injury to

Amazon. The injury to Amazon is and continues to be ongoing and irreparable.

An award of monetary damages cannot fully compensate Amazon for its injuries,

and Amazon lacks an adequate remedy at law.

                                  PRAYER FOR RELIEF

      WHEREFORE, Amazon respectfully prays for the following relief:

      A.     That the Court enter judgment in Amazon’s favor on all claims;

      B.     That the Court issue an order permanently enjoining Defendants, their

officers, agents, representatives, employees, successors and assigns, and all others

in active concert or participation with them, from:

             (i)    Using the Amazon Trademarks in connection with any offer,

                    survey, commercial email, marketing campaign, or website;

             (ii)   Using any other indication of Amazon’s brand in connection

                    with any offer, survey, commercial email, marketing campaign,

                    or website;

                                          26
    Case 4:20-cv-01920 Document 1 Filed on 06/01/20 in TXSD Page 27 of 28




            (iii)   Making any statement of an affiliation or connection to

                    Amazon in connection with any offer, survey, commercial

                    email, marketing campaign, or website; or

            (iv)    assisting, aiding or abetting any other person or business entity

                    in engaging or performing any of the activities referred to in

                    subparagraphs (i) through (iii) above;

      C.    That the Court enter an order requiring Defendants to provide

Amazon a full and complete accounting of all gross and net amounts earned in

connection with the scheme alleged in this Complaint;

      D.    That Defendants’ profits from the unlawful scheme alleged in this

Complaint be disgorged pursuant to 15 U.S.C. § 1117(a);

      E.    That Defendants be required to pay all general, special, actual, and

statutory damages which Amazon has sustained, or will sustain, as a consequence

of Defendants’ unlawful acts, and that such damages be enhanced, doubled, or

trebled as provided for by 15 U.S.C. § 1117(a)–(b), or otherwise allowed by law;

      F.    That Defendants be required to pay the costs of this action and

Amazon’s reasonable attorneys’ fees incurred in prosecuting this action, as

provided for by 15 U.S.C. § 1117 or otherwise by law; and




                                         27
    Case 4:20-cv-01920 Document 1 Filed on 06/01/20 in TXSD Page 28 of 28




      That the Court grant Amazon such other, further, and additional relief as the

Court deems just and equitable.

DATED: June 1, 2020                  BAKER WILLIAMS MATTHIESEN LLP
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                                          28
